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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 In re:                                              Chapter 11

 HIGHLAND CAPITAL MANAGEMENT, L.P.                   Case No. 19-34054 (SGJ)

                                Debtor.              JAMES DONDERO, HIGHLAND
                                                     CAPITAL MANAGEMENT FUND
                                                     ADVISORS, L.P., NEXPOINT
                                                     ADVISORS, L.P., THE DUGABOY
                                                     INVESTMENT TRUST, THE GET GOOD
                                                     TRUST, and NEXPOINT REAL ESTATE
                                                     PARTNERS, LLC, F/K/A HCRE
                                                     PARTNERS, LLC, A DELAWARE
                                                     LIMITED LIABILITY COMPANY'S
                                                     SUPPLEMENTAL MEMORANDUM OF
                                                     LAW IN SUPPORT OF AMENDED
                                                     RENEWED MOTION TO RECUSE
                                                     PURSUANT TO 28 U.S.C. § 455


     MOVANTS’ SUPPLEMENTAL MEMORANDUM OF LAW IN SUPPORT OF
    AMENDED RENEWED MOTION TO RECUSE PURSUANT TO 28 U.S.C. § 455

          James Dondero, Highland Capital Management Fund Advisors, L.P., NexPoint Advisors,

L.P., The Dugaboy Investment Trust, The Get Good Trust, and NexPoint Real Estate Partners, LLC,

f/k/a HCRE Partners, LLC, a Delaware limited liability company (collectively, “Movants”) file this

Supplemental Memorandum of Law in Support of Renewed Motion to Recuse Pursuant to 28 U.S.C.

§ 455, supplementing their Amended Renewed Motion to Recuse Pursuant to 28 U.S.C. § 455 (the

“Amended Renewed Recusal Motion”) [DE # 3570-3571.1] with information regarding two books

published by Judge Jernigan, which Movants recently learned about and read. Those books, which

were written and published while the Court was presiding over the bankruptcies of Acis Capital

Management, L.P., Acis Capital Management GP, LLC, and HCMLP (the “Bankruptcy

Proceedings”), contain derisive commentary about financial industry executives, the financial

industry generally, and the financial instruments specifically at issue in HCMLP’s bankruptcy.

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Further, the second novel appears based on Judge Jernigan’s experiences with HCMLP and Mr.

Dondero in the Bankruptcy Proceedings.

       On February 27, 2023, Highland Capital Management Fund Advisors, LP filed a motion

to recuse in the case styled: In re: Highland Capital Management LP, case number 21-03076, in

the U.S. Bankruptcy Court for the Northern District of Texas. As addressed in that motion, the two

novels at issue contain highly antagonistic statements about the hedge fund industry, hedge fund

managers, and the same investment vehicles that the Court knows HCMLP managed pre-petition.

While the Court claims at the outset of each novel that they are works of fiction, there can be little

doubt, under the circumstances, that the books are based upon Judge Jernigan’s experiences as a

sitting bankruptcy judge—and, in particular, from the Court’s experience presiding over the

Bankruptcy Proceedings.

       The first novel, He Watches All My Paths, was released on January 3, 2019, just weeks

before the Court confirmed the joint bankruptcy plan of Acis Capital Management, L.P. and Acis

Capital Management GP, LLC (collectively, “Acis”)—companies for which Mr. Dondero served

as CEO and for which HCMLP performed certain management services prior to Acis’s

bankruptcy. Against that backdrop, the book describes the financial industry as being dominated

by “[h]igh flying hedge fund managers” that “suck up money like an i-robot vacuum” and seem to

“make money no matter what” and who routinely show “outrageous amounts of hubris” as part of

their “bro culture.” Moreover, the novel’s central protagonist, a Dallas federal bankruptcy judge,

suspects that the death threats she is receiving are coming from a hedge fund manager that has

previously appeared in her court.

       The second novel, Hedging Death, was released in March 2022, less than a year after

HCMLP’s Plan became effective and while the Bankruptcy Proceedings were still ongoing.



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Hedging Death invokes even more details from the Bankruptcy Proceedings. Again, the central

protagonist of the novel is a Dallas bankruptcy judge, and the protagonist’s husband is, like Judge

Jernigan’s husband, a retired police officer and private investigator. 1 The story involves a Dallas

hedge fund manager who is described as a reckless investment manager and vexatious litigant—

the same language that the Court has described Mr. Dondero in the Bankruptcy Proceedings. The

investment firm in the novel is called Ranger Capital and is experiencing economic distress largely

due to extensive litigation stemming from bad investments. Notably, HCMLP’s original name

was Ranger Asset Management, as is prominently disclosed on the website of Mr. Dondero’s

investment firm NexPoint and which has been mentioned in other filings in the Bankruptcy

Proceedings. In addition, HCMLP, like the “fictitious” Ranger Capital, initially sought chapter 11

protection because of investor litigation. The similarities do not stop there. In the novel, Ranger

Capital, like HCMLP, is a “multi-billion dollar conglomerate, which manage[s] not just hedge

funds but private equity funds, [collateralized debt obligations], CLOs, REITs, life settlements,

and all manner of complicated financial products.” HCMLP and its affiliates managed hedge

funds, private equity funds, CDOs, CLOs, 2 REITS, life settlement portfolios, and private

investment accounts for institutions around the world—exactly the same unusual mix of

investments at issue in the second “fictional” novel. 3 There can be no question that the basis for

this mix of investments is derived from the Court’s work in Acis and Highland Bankruptcies.


1
  See Hedging Death, back cover.
2
  Notably, Highland was a pioneer that launched one of the first ever CLOs and was the world’s largest CLO manager
for years.
3
  Notably, there are no other enterprises in Dallas that manage this mixture of product types. Moreover, this mixture
includes products not normally found at the same firm because they (1) require divergent skill sets and teams to
manage, (2) usually have significantly different time horizons for asset realization (which require a diverse base of
investors with different timing needs), and (3) have limited overlap in which managed funds can take investments,
such as CLOs and CDOs (which only can invest in debt), private equity (which is equity only), and REITs (which are
real-estate only). Consequently, firms normally do not manage combinations of CLO and CDOs on one hand and
REITs and private equity on the other, or products that are regarded as esoteric even within the finance community,
such as life settlements portfolios.

                                                         3
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Indeed, even financial hubs such as New York and Los Angeles have only a limited number of

firms with the mixture of products found at HCMLP. 4 Notably, the novel describes the life

settlement industry—an industry the Court knows that HCMLP and Mr. Dondero invested in—as

“creepy,” “immoral,” “unethical,” and “should be illegal.”

        In short, Judge Jernigan’s writings, which any reasonable person would agree appear

patterned after Mr. Dondero, are additional evidence that the Court harbors exceedingly negative

views about hedge fund managers and the hedge fund industry, generally, as well as Mr. Dondero

specifically. At the very least, the commentary made in the novels about the financial managers,

the financial industry, and the financial products at issue would lead a reasonable observer to

question the Court’s impartiality in these Bankruptcy Proceedings, mandating recusal.

        In short, the Court’s negative opinions of Mr. Dondero, Movants, and their perceived

affiliates—as set forth in the Amended Renewed Recusal Motion and as reflected by the Court’s

commentary in two recently-published novels—reveal a high degree of antagonism, which makes

it nearly impossible for Mr. Dondero and the Affected Parties to fully defend themselves and assert

their rights in this forum, including in connection with claims filed against Mr. Dondero and

Affected Parties. At a minimum, that is the perception that has been created. 5

        Movants hereby supplement the Amended Renewed Recusal Motion. In doing so, pursuant

to 28 U.S.C. § 455, Movants respectfully request the Court, after considering the Amended Renewed



4
  Highland’s unique history created this diversity of product types. Highland primarily was a CLO manager that then
created hedge funds to house its purchase of CLO equity tranches. Highland only opened its private equity funds
when, in the 2008 financial crisis, bankruptcies forced many of the CLO’s debt positions to convert to equity.
Highland created REITs because Dondero made personal investments in real estate, and a transactional lawyer hired
in the legal department evidenced a flare for real estate investments which proved successful enough to support a
REIT business. Life settlements also were the idea of a single analyst from another business unit to whom Dondero
gave an opportunity. The Highland mixture of products likely exists only at a sprawling firm that invests in almost
all asset types, or but not at any other founder-managed mid-size firm.
5
  Liteky v. United States, 510 U.S. 540, 551 (1994); In re Kansas Pub. Employees Retirement Sys., 85 F.3d 1353,
1358 (8th Cir. 1996).

                                                        4
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Recusal Motion and this Supplement thereto, grant their Motion and recuse herself from presiding

over this proceeding. In the alternative, Movants hereby request that the Court make clear that any

order denying recusal is final on the issue so that Movants may pursue any appellate remedies that

exist, including mandamus.

       Dated: March 3, 2023                         Respectfully submitted,


                                                    CRAWFORD, WISHNEW & LANG PLLC

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                                                    Attorneys for Movants


                                CERTIFICATE OF SERVICE

       The undersigned certifies that on March 3, 2023, a true and correct copy of the above and
foregoing document was served on all parties and counsel set to receive notice by the Court’s ECF
system.

                                                      /s/ Michael J. Lang ________
                                                      Michael J. Lang




                                                5
